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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re:
                                                                   Chapter 11
WARDMAN HOTEL OWNER, L.L.C., 1
                                                                   Case No. 21-10023 (JTD)

                                   Debtors.


WARDMAN HOTEL OWNER, L.L.C.,
                                                                   Adv. Proc. No. 23-50453 (JTD)
                                   Plaintiff,
                                                                   Re: Adv. Docket No. 4
          v.

DISTRICT OF COLUMBIA,

                                   Defendant.


         ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


                   This matter is before the Court on Plaintiff’s Motion for Summary Judgment (the

“Motion”) filed by plaintiff Wardman Hotel Owner, L.L.C. Upon consideration of the Motion

and all pleadings and oral arguments relating thereto, it is,

                   ORDERED that the Motion be and is hereby GRANTED; and it is further

                   ORDERED that summary judgment is entered for Plaintiff with respect to each

count of the Plaintiff’s Complaint filed in this action; and it is further




1
 The last four digits of Debtor’s U.S. tax identification number are 9717. Debtor’s mailing address is 5996
Mitchell Road, #16, Atlanta, GA 30328.



DOCS_DE:245227.2 92203/001
DE:4881-2531-4702.3 92203.001
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                   ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation of this Order.




          Dated: January 22nd, 2024                        JOHN T. DORSEY
          Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




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